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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________


BLANCA E. PUENTE, ET AL., 	Appellants,


v.



LEVI STRAUSS &amp; COMPANY, ET AL.,	Appellees. 

_____________________________________________________________


On Appeal from the 389th District Court 


of Hidalgo County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Benavides and Vela


Memorandum Opinion Per Curiam


	Appellants, Blanca E. Puente, et al., attempted to perfect an appeal from an order 
entered by the 389th District Court of Hidalgo County, Texas, in cause number C-1691-03-H.  The Order granting Levi Strauss &amp; Co.'s Motion to Dismiss Remaining LS&amp;CO.
plaintiffs was signed on March 13, 2008.  Appellants filed a motion for Court to Reconsider
Order of Dismissal or, in the Alternative, Motion to Reinstate or Motion for New Trial on
April 16, 2008.  Appellants' motion for new trial was not filed within thirty days after
February 19, 2008.  See Tex. R. Civ. P. 329b(a).  

	 Pursuant to Texas Rule of Appellate Procedure 26.1, appellants' notice of appeal
was due on April 12, 2008, but was not filed until May 9, 2008.  A motion for extension of
time is necessarily implied when an appellant, acting in good faith, files a notice of appeal
beyond the time allowed by rule 26.1, but within the fifteen-day grace period provided by
Rule 26.3 for filing a motion for extension of time.  See Verburgt v. Dorner, 959 S.W.2d
615, 617-18, 619 (1997) (construing the predecessor to Rule 26).  However, appellant
must provide a reasonable explanation for the late filing:  it is not enough to simply file a
notice of appeal.  Id.; Woodard v. Higgins, 140 S.W.3d 462, 462 (Tex. App.-Amarillo 2004,
no pet.); In re B.G., 104 S.W.3d 565, 567 (Tex. App.-Waco 2002, no pet.).

	On June 10, 2008, the Clerk of this Court notified appellants of this defect so that
steps could be taken to correct the defect, if it could be done.  Appellants were advised
that, if the defect was not corrected within ten days from the date of receipt of this Court's
letter, the appeal would be dismissed.  To date, no response has been received from
appellants providing a reasonable explanation for the late filing of the notice of appeal.

          The Court, having examined and fully considered the documents on file, appellants'
failure to timely perfect their appeal, and appellants' failure to respond to this Court's
notice, is of the opinion that the appeal should be dismissed for want of jurisdiction.
Accordingly, the appeal is hereby DISMISSED FOR WANT OF JURISDICTION.  See Tex.
R. App. P. 42.3(a)(c).


							PER CURIAM


Memorandum Opinion delivered 

and filed this the 21st day of August, 2008. 





	


